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                                                                              Eastern Distnct cf Kentucky
                                                                                    FILED                   .
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                                                                   APR O1 2022
                               SOUTHERN DIVISION                                      Al HKEV,LLE:
                                    PIKEVILLE                                       ROBERT R. CARR
                                                                               CLER!< U.S. DISTRICT COURT

   CRIMINAL ACTION NO. 7:21-CR-15-REW-1

   UNITED STATES OF AMERICA                                                      PLAINTIFF


   v.                               PLEA AGREEMENT


   MADISON L. BALO                                                             DEFENDANT

                                         * * * * *
          1. Pursuant to Federal Rule of Criminal Procedure 11 (c), the Defendant will enter

   a guilty plea to Counts 1, 3, and 9 of the Indictment, charging one violation of 18 U.S.C. §

   1028(±), conspiracy to unlawfully transfer, possess, and use a means of identification, and

   two violations of 18 U.S.C. § 1343, wire fraud. Pursuant to Rule 1l(c)(l)(A), the United

   States will move at sentencing to dismiss Counts 2 and 4-8.

          2. The essential elements of Count 1 are:

        (a) The Defendant knowingly and intentionally agreed with another person to
   commit:
              (i)   A violation of 18 U.S.C. 1028(a)(7)(c) that is, to knowingly transfer,
                    possess, or use, without lawful authority, a means of identification of
                    another person with the intent to commit, or to aid or abet, or in
                    connection with, any unlawful activity that constitutes a violation of
                    Federal law, that is, to steal government funds, a violation of 18
                    U.S.C. § 641; and, the transfer, possession, or use of the means of
                    identification was in or affected interstate or foreign commerce, and

           (b) The defendant became a member of the conspiracy knowing of at least one of
   its objects and intending to help accomplish it; and

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         (c) One of the members of the conspiracy performed at least one overt act for the
   purpose of carrying out the conspiracy.

         3. The essential elements of Counts 3 and 9 are:

         (a) The Defendant devised a scheme to defraud in order to obtain money or property
   by materially false or fraudulent pretenses, representations or promises;

         (b) The Defendant acted with the intent to defraud; and

          (c) That in advancing, furthering, or carrying out the scheme, the Defendant
   transmitted any writing, signal, or sound by means of a wire, radio, or television
   communication in interstate commerce or caused the transmission of any writing, signal,
   or sound of some kind by means of a wire, radio, or television communication in interstate
   commerce.

         4. As to Counts 1, 3 and 9, the United States could prove the following facts that

   establish the essential elements of the offenses beyond a reasonable doubt, and the

   Defendant admits these facts:

                (a) At all relevant times, the Defendant was a resident of Pike or Letcher
         County, Kentucky, both being located in the Eastern District of Kentucky and
         relevant conduct occurred in the Eastern District of Kentucky.

                 (b) At all relevant times, the Defendant knew the Internal Revenue Service
         ("IRS") was an agency of the United States Department of the Treasury responsible
         for enforcing and administering the tax laws of the United States and collecting
         taxes owed to the United States. Taxpayers had the option of either mailing their
         federal income tax returns to the IRS or filing their tax returns electronically r·E- '
         File").

                (c) The Defendant knew the Coronavirus Aid, Relief, and Economic
         Security ("CARES") authorized Economic Impact Payments ("EIP") for qualifying
         Americans. Taxpayers with lower income had no filing obligations but could
         provide, among other information, their full name, address, date of birth, and a valid
         Social Security number through the IRS's non-filer online portal to collect a refund.
         The refund check would be mailed to the taxpayer's residence, or a refund could be
         directly deposited in a bank account by entering bank routing and account
         information into the IRS' s online portal.


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               (d) Beginning on or about April 23, 2020 to on or about June 3, 2020, near
        Letcher County, Kentucky, the Defendant knowingly and intentionally agreed,
        along with Kyler Sullivan, to unlawfully transfer, possess, and use T.C.s name,
        social security number, and birth date, under the guise of helping T.C. collect an
        EIP from the IRS by using his means of identification to request the payment. The
        Defendant intentionally entered T.C. 's means of identification into the federal
        online portal but then directed the deposit ofT.C. 's EIP funds into her personal bank
        account. The Defendant added T.C.'s means of identification to her bank account
        unlawfully and created a debit card for him without his permission or knowledge
        but never used the debit card she created for T.C .. The Defendant received T.C.'s
        $1,200 EIP and spent it without T.C's permission or knowledge for her own
        personal benefit and the benefit of Kyler Sullivan.

                (e) At all relevant times, the Defendant knew the $1,200 EIP belonged to the
        United States Department of Treasury, IRS, and that T.C. was specifically entitled
        to this money that she unlawfully converted to her own use.

                (f) The United States Small Business Administration (SBA) provides
        support to small businesses. The Defendant understands the SBA is headquartered
        in Washington, DC and maintains its computer servers outside of the state of
        Kentucky. The CARES Act became law in early 2020 and established several new
        programs including providing Economic Injury Disaster Loans ("EIDL") for small
        businesses. The defendant entered multiple EIDL applications online and certified
        that the information provided was accurate with the knowledge she had entered false
        material information. She did this despite being warned that any false statement or
        misrepresentation to the SBA could result in criminal penalties.

               (g) On or about May 20, 2020, the Defendant entered EIDL application
        3000198770 on behalf of Kyler Sullivan to unjustly obtain a loan from the SBA
        pursuant to the CARES Act with his permission. Kyler Sullivan provided
        information to the Defendant knowing she intended to use it to defraud and obtain
        monies from the SBA by entering materially false and fraudulent information on his
        behalf. The Defendant and Kyler Sullivan used the SBA online portal to prepare and
        electronically submit fraudulent applications for an EIDL loan, making numerous
        false statements about the business, all of which were transmitted in interstate
        commerce from the Eastern District of Kentucky to the SBA. The Defendant and
        Kyler Sullivan falsely claimed Sullivan had a business with a gross revenue of
        $9,000, costs of goods sold of $12,000, and lost rental value for the business of
        $3,000 and together they requested a loan advance of $10,000.

               (h) From on or about June 3, 2020, through on or about July 8, 2020, in the
        Eastern District of Kentucky, and elsewhere, the Defendant devised a scheme to

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         defraud the United States and financial institutions, and to obtain money and
         property by means of materially false and fraudulent pretenses, representations and
         promises, by exploiting the COVID-19 EIDL relief program through the SBA. As
         part of this scheme, the Defendant submitted fraudulent applications for EIDL
         proceeds containing false statements. The applications all traced back to the
         Defendant's various IP addresses, email account, and/or the bank account entered
         on the application was registered to her. The Defendant's application submissions
         involved numerous interstate wires.

                (i) On or about July 8, 2020, the Defendant filed false EIDL application
         3309424096 claiming her "Balo proprietorship" had a maid and cleaning service,
         with a gross revenue of $24,000, rental property loss of $3,000, and seeking a loan
         advance of $10,000. The Defendant acted with the intent to defraud, knowing
         material representations contained in the application were false.

         5. The statutory punishment for Count 1 is imprisonment for not more than 15 years,

  a fine of not more than $250,000, and a term of supervised release of not more than 3 years

  The statutory punishment for Counts 3 and 9 is imprisonment for not more than 20 years,

  a fine of not more than $250,000, and a term of supervised release of not more than 3 years.

  A mandatory special assessment of $100 per count applies, and the Defendant will pay this

  assessment to the U.S. District Court Clerk at the time of the entry of the plea.

         6. Pursuant to Rule l l(c)(l)(B), the United States and the Defendant recommend

  the following sentencing guidelines calculations, and they may object to or argue in favor

  of other calculations. This recommendation does not bind the Court.

               (a) United States Sentencing Guidelines (U.S.S.G.), November 1, 2018,
         manual, will determine the Defendant's guidelines range.

                (b) Pursuant to U.S.S.G. § lBl.3, the Defendant's relevant conduct includes
         stealing government funds to which T.C. was entitled by conspiring to use T.C.'s
         personal identifying information unlawfully and submitting false EIDL applications
         seeking loans and/or advances from the SBA.

                (c) Pursuant to U.S.S.G. § 2Bl.l(a)(l), the base offense level is 7.

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                (d) Pursuant to U.S.S.G. § 2Bl.l(b)(l)(D), increase the offense level by
         6 levels for an intended loss amount of more than $40,000 but less than $95,000.

                (e) Pursuant to U.S.S.G. § 3El.l and unless the Defendant commits another
         crime, obstructs justice, or violates a court order, decrease the offense level by
         2 levels for the Defendant's acceptance of responsibility. If the offense level
         determined prior to this 2-level decrease is level 16 or greater, the United States will
         move at sentencing to decrease the offense level by 1 additional level based on the
         Defendant's timely notice of intent to plead guilty.

                (t) Pursuant to U.S.S.G. § 5El.1, restitution is $1,200, and the victim is T.C ..

         7. No agreement exists about the Defendant's criminal history category pursuant to

  U.S.S.G. Chapter 4.

         8. The Defendant agrees T.C. qualifies as a victim under 18 U.S.C. §

  3663A(c)(l)(B).

         9. The Defendant agrees that restitution is due and payable immediately after the

  judgment is entered and is subject to immediate enforcement, in full, by the United States.

  If the Court imposes a schedule of payments, Defendant agrees that the schedule of

  payments is a schedule of the minimum payment due, and that the payment schedule does

  not prohibit or limit the methods by which the United States may immediately enforce the

  judgment in full.

         10. The Defendant will not file a motion for a decrease in the offense level based

  on a mitigating role pursuant to U.S.S.G. § 3Bl.2 or a departure motion pursuant to

  U.S.S.G. Chapter 5, Parts Hor K.




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          11. The Defendant waives the right to appeal the guilty plea and conviction. Except

   for claims of ineffective assistance of counsel, the Defendant also waives the right to attack

   collaterally the guilty plea, conviction, and sentence.

          12. The United States will recommend releasing the Defendant on the current

  conditions for future court appearances if the Defendant does not violate the terms of the

  order setting conditions of release.

          13.   The Defendant agrees to the imposition of a forfeiture money judgment

  representing the proceeds obtained by the Defendant as a result of the offense in the amount

  of $1,200. The Defendant agrees that this property is subject to forfeiture because a nexus

  exists between the property and the offense, as set out in the forfeiture allegation of the

  Indictment. The Defendant agrees the money judgment is separate from any restitution

  order entered by the Court. The Defendant waives any and all timing and notice provisions

  under Rule 32.2.

          14. The Defendant agrees to cooperate fully with the United States Attorney's

  Office by making a full and complete financial disclosure. Within 30 days of pleading

  guilty, the Defendant agrees to complete and sign a financial disclosure statement or

  affidavit disclosing all assets in which the Defendant has any interest or over which the

  Defendant exercises control, directly or indirectly, including those held by a spouse,

  nominee, or other third party, and disclosing any transfer of assets that has taken place

  within three years preceding the entry of this plea agreement. The Defendant will submit

  to an examination, which may be taken under oath and may include a polygraph


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  examination. The Defendant will not encumber, transfer, or dispose of any monies,

  property, or assets under the Defendant's custody or control without written approval from

  the United States Attorney's Office. If the Defendant is ever incarcerated in connection

  with this case, the Defendant will participate in the Bureau of Prisons Inmate Financial

  Responsibility Program, regardless of whether the Court specifically directs participation

  or imposes a schedule of payments. If the Defendant fails to comply with any of the

  provisions of this paragraph, the United States, in its discretion, may refrain from moving

  the Court pursuant to U.S.S.G. § 3El.l(b) to reduce the offense level by one additional

  level, and may argue that the Defendant should not receive a two-level reduction for

  acceptance of responsibility under U.S.S.G. § 3El.l(a).

         15. The Defendant understands and agrees that, pursuant to 18 U.S.C. § 3613,

  whatever monetary penalties are imposed by the Court will be due and payable

  immediately and subject to immediate enforcement by the United States. If the Court

  imposes a schedule of payments, the Defendant agrees that it is merely a minimum

  schedule of payments and not the only method, nor a limitation on the methods, available

  to the United States to enforce the judgment. The Defendant waives any requirement for

  demand of payment on any fine, restitution, or assessment imposed by the Court and agrees

  that any unpaid obligations will be submitted to the United States Treasury for offset. The

  Defendant authorizes the United States to obtain the Defendant's credit reports at any time.

  The Defendant authorizes the U.S. District Court to release funds posted as security for the




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  Defendant's appearance bond in this case, if any, to be applied to satisfy the Defendant's

  financial obligations contained in the judgment of the Court.

         16. If the Defendant violates any part of this Agreement, the United States may

  void this Agreement and seek an indictment for any violations of federal laws, and the

  Defendant waives any right to challenge the initiation of additional federal charges.

         17.     This document and the supplement contain the complete and only Plea

  Agreement between the United States Attorney for the Eastern District of Kentucky and

  the Defendant. The United States has not made any other promises to the Defendant.

         18. This Agreement does not bind the United States Attorney's Offices in other

  districts, or any other federal, state, or local prosecuting authorities.

         19. The Defendant and the Defendant's attorney acknowledge that the Defendant

  understands this Agreement, that the Defendant's attorney has fully explained this

  Agreement to the Defendant, and that the Defendant's entry into this Agreement is

  voluntary.




                                              CARLTON S. SHIER, IV
                                              UNITED STATES ATTORNEY


         Date:     /   dp1,/,Cc,zz_           By:
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                                                      Assistant United States Attorney




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        Date:O~     -j 8 -JoJJ.             n~-
                                            Madison L. Balo
                                            Defendant



        Date:   ..3 ~,c;iZL-
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